                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                                   Case No. 07-CR-303

BRITTANY K. DURRANT,

                      Defendant.


                   ORDER DENYING MOTION FOR ADJOURNMENT


       Counsel for the above defendant has written a letter requesting that the sentencing in his

client’s case be postponed to November 13, 2008, so that it follows the sentencing of a co-

defendant. Counsel states that he wants to know what the co-defendant’s sentence will be because

he intends to argue that his client’s conduct was of a similar nature and, thus, his client’s

punishment should be proportional to that co-defendant’s.

       The problem with counsel’s argument is that the same is true of all co-defendants. Every

defendant compares his or her conduct to that of another defendant and seeks to use the prior

sentence as a benchmark that should govern the determination of their own sentence. I decline to

adjourn sentences or reschedule them simply so that counsel can argue from a previous sentence

what the sentence in his case should be. To the extent that the request for rescheduling is based

merely upon the fact that counsel wants to know a co-defendant’s sentence, it is denied.

       Counsel also argues, however, that his client has a personal reason related to her child’s

school for seeking an adjournment of the sentencing date. The vague reference to some sort of



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commitment at school is too indefinite and uncertain for the court to determine whether or not it

merits an adjournment. Accordingly, the relief requested will be denied as to this reason also. In

the event counsel wishes to provide more specifics as to why his client made a commitment with

her child’s school that happens to fall on the date of her sentencing, the court can reconsider the

ruling. For now, however, the motion is denied.

       SO ORDERED this         20th   day of October, 2008.



                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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